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SO ORDERED this _2nd__ day of __February______, 2024.



                                        /S/ CATHERINE C. BLAKE
                                       Hon. Catherine C. Blake
                                       United States District Judge




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